                                               Entered on Docket
                                               September 03, 2019
                                               EDWARD J. EMMONS, CLERK
                                               U.S. BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF CALIFORNIA



1    BADMA GUTCHINOV, ESQ. #140040
                                             Signed and Filed: September 3, 2019
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4
                                             __________________________________________
5                                            HANNAH L. BLUMENSTIEL
                                             U.S. Bankruptcy Judge
6

7                          UNITED STATES BANKRUPTCY COURT
8                         NORTHERN DISTRICT OF CALIFORNIA
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11   In re:     JEFFREY E. DEWEESE,           )    Case No: 19-30625 HLB13
                                              )    Chapter 13
12                              Debtor,       )
                                              )
13
                                              )    ORDER APPROVING MOTION TO VALUE
14                                            )    PERSONAL PROPERTY SECURING
                                              )    CLAIM OF ON DECK CAPITAL, INC.
15                                            )
                                              )
16

17
           Upon due consideration of the Debtor’s Motion to Value
18
     Collateral held by On Deck Capital, Inc. filed on August 9,
19
     2019, Debtor’s Request for Default Order re Motion to Value
20
     Personal Property, and good cause appearing,
21
           IT IS HEREBY ORDERED that the Debtor’s Motion is approved.
22
           IT IS FURTHER ORDERED that the value of the personal
23
     property is $15,000 AT 10% INTEREST RATE, Creditor’s secured
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     claim is limited to $15,000, and that any amount in excess be
25
     treated as a general unsecured claim.
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27
                                  *** END OF ORDER ***
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            ORDER VALUING PERSONAL PROPERTY – AUGUST 1, 2013, MODEL CHAPTER 13 PLAN
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1                                  COURT SERVICE LIST
2
     Jeffrey E. DeWeese
3
     1199 Bush Street #590
4    San Francisco, CA 94109

5    Officer, Managing or General Agent
     On Deck Capital, Inc.
6    901 N. Stuart Street #700
7
     Arlington, VA 22203

8    Aubrey Law Firm, PC
     12 Powder Springs Street, Suite 240
9    Marietta, GA 30064
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            ORDER VALUING PERSONAL PROPERTY – AUGUST 1, 2013, MODEL CHAPTER 13 PLAN
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